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Exhibit C: Supplemental
Citations Under CivLR
7. l(h)(l)
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EXHIBIT C: SUPPLEMENTAL CITATIONS UNDER CIVLR 7.l(h)(l)

Under Southern District of California Local Rule 7.l(h)(l), Plaintiff submits these
suppl emental citations to decimate any narrative that Commissioner Patti Ratekin
had jurisdiction after my proper CCP § 170.6 peremptory challenge on February 9,
202 1 (Exhibit A). The February 4, 2021 transcript (Exhibit B) confim1s no orders
were issued or substantive arguments heard- Ratekin trailed the case, unprepared
(Exhibit B, p. 15)-rendering my challenge valid and her denial void.
Compounding this, Exhibit B and related facts expose concerning issues predating
Feb. 9: (1) Ratekin claimed to read the file " last night" (Exhibit B, p. 3) before her
same-day assignment per the register of actions, suggesting improper access or
predetermination; (2) she pushed a "24-hour school" for my son (Exhibit B, p. 12)
with zero evidence, showing bias; (3) Ratekin and opposing counsel David
Schulman knew her supervising judge's wife was friends with my ex-wife, Andrea
Emert, a conflict I later discovered; (4) the next supervising judge was a founding
member of Schulman's law firm, a fact both were aware of. These authorities
reinforce the jurisdictional defect in Plaintiff's Motion for Mandatory
Jurisdictional Adjudication Under FRCP 12(h)(3).

People v. Superior Court (Lavi), 4 Cal.4th 1164 (1993) and Estate of Eskra, 51
Cal.3d 943 ( 1991) establish that improper denial of a CCP § 170.6 challenge
renders all subsequent orders void ab initio. Any reliance on the February 4, 2021 ,
verbal stipulation is legally irrelevant under controlling precedent. As held in
Stephens v. Superior Court, 30 Cal.4th 1082 (2002), a peremptory challenge may
be filed any time before substantive rulings. In re Marriage of Goodarzirad, 185
Cal.App.3d 1020 (1986) specifically holds that initial agreement to a
commissioner' s authority is nullified by subsequent proper challenge where no
substantive proceedings occurred.

California Rules of Court, rule 2.831 (b) mandates written stipulation and judicial
signature for temporary judge status. Rule 2.834(b)(3) categorically prohibits
commissioners from acting as temporary judges with self-represented litigants
absent specific written requirements. These mandatory protections cannot be
waived by verbal stipulation.
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This jurisdictional defect infects all related cases. What began as a straightforward
custody matter has expanded into multiple proceedings due to systematic denial of
basic due process- specifically, the right to an evidentiary hearing denied for over
four years across multiple courts.

The law is unambiguous: Commissioner Ratekin's orders are void ab initio,
requiring all derivative proceedings be unwound to February 4, 202 1, status.

Federal authority confirms this Court's duty and jurisdiction to act: FRCP
 12(h)(3) mandates adjudication "at any time" a jurisdictional defect is raised,
empowering district courts to clarify anti cure void state judgments. United
Student Aid Fumb, v. Espinosa, 559 U.S. 260, 271 (2010); Kougasian v. TMSL,
Inc., 359 F.3d 1136, 1140 (9th Cir. 2004). This Court must resolve Ratekin's
jurisdictional defect.
